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                                                                             Information Security Officer
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                       IN THE UNITED STATES DlSTRlCf COURT
                       FOR THE EASTERN DlSTRlCf OF VIRGINIA
                               ALEXANDRIA DIVISION


                                              )
UNITED STATES                                 )
                                              )       Case No. 04-cr-38S
v.                                            )
                                              )       Hon. Leonie M. Brinkema
ALI AL-nMlMI                                  )
                                              )       UNDER SEAL


     DEFENDANT DR. ALI AL-TIMIMI'S MEMORANDUM IN SUPPORT OF MOnON
      TO COMPEL CLASSIFIED DISCOVERY RELATED TO KHWAJA MAHMOOD
                                   HASAN

        Defendant Dr. Ali al-Timimi respectfully moves this Court. by counsel and pursuant to

Federal Rule of Criminal Procedure 16 and Brady v. Maryland and its progeny, to compel the

government to produce previously requested and unlawfully withheld classified evidence related

to alleged co-conspirator Khwaja Mahmood Hasan. Telephone communications between Dr. al-

Timimi and Hasan have long been a focus of this case and this remand. This includes, but is not

limited to, an exculpatory phone call placed by Dr. al-Timimi to Hasan on or about September t 9,

2001, in which he left a voicemail discouraging Hasan and alleged co-conspirator Yang Ki

Kwon from traveling to Pakistan. On September 20. 2013, an unclassified motion based on

public information was filed with the Court seeking this discovery.           However, since the

government referenced Hasan in prior classified filings, the defense is filing a separate motion in

the SCIF to address the earlier classified discovery related to Hasan.'



I The defense has been instructed to place the 'IS/SCI (SI)'" headings and footers on this
and the prior motion. The defense continues to contest the level of classification of these
filings and has asked the Court In a pending motion to order the declassification of clearly
unclassified material, including pure legal arguments.
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        Before his 2005 trial before this Court. Dr. al-Timimi sought from the government phone

records related to Mahmood Hasan that would have definitively established that Hasan and

Kwon received phone calls from al-Timimi. The government, however, provided Dr. al-Timimi

with a temporally incomplete set of records. It also insisted that it possessed no phone records

for Hasan for the period of September 200 I, the month in which many of the events central to

the case against Dr. 81-Timimi took place, and the time period in which exculpatory phone calls

were placed. (0 the absence of this critical discovery. Dr. al-Timimi was forced to elicit through

witness testimony evidence about the phone calls and other related communications.

         Hasan's central role in the allegations against Dr. al-Timimi has never been disputed by

the government. and this Court during this remand has already ordered the govenunent to search

for undisclosed evidence related to Hasan. DkI. No. 27J. Since the last hearings in this case,

defense counsel has uncovered evidence that shows that the government possessed a far greater

body of evidence related to Hasan' s phone records than had been represented to Dr. al-Timimi at

the time of trial : namely. that the government prior to Dr. al-Timimi's trial had acquired Hasan's

phone records through a grand jury subpoena and possibly through a National Security Lener

(NSL).l Given the central importance of September 2001 in the case against Dr. al-Timimi. it is

highly unlikely that the subpoena did not reacb relevant phone records during this time period.

        Because this evidence has a direct bearing on key communications that Dr. al-Timimi has

insisted for nearly a decade would prove his innocence, Dr. al-Timimi now asks the Court to




2   Current defense counsel bas tried unsuccessfully to obtain a complete index of discovery
given to Dr. al-Timimi 's trial counsel for both classified and Unclassified review. Requests were
made to both government counsel and the court security officers. nus filing is based on a
review of the files offonner defense counsel and the transcripts in this case.
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compel the government 10 produce all undisclosed classified phone records and intercepted calls

of Hasan related to Dr. al-Timimi and the Virginia Jihad investigation.

I.     FACTUAL BACKGROUND

       Before trial, the defense repeatedly asked the government for telephone records for Hasan,

in order to cantinn the fact that Dr. al-Timimi had called Hasan. and Kwon shortly before their

depanure for Pakistan and discouraged them from travelling.          Furthermore, Dr. al-Timlmi

maintained that he had received calls from other individuals, who had themselves been in contact

with Kwon and Hasan. See. e.g.• Dkt. No. 154, Trial Tr., Vol. 7 at 1857·1858 (Apr. 13,2005).

These calls offered the most direct refutation of the government's claim that Dr. al-Timimi

encouraged these men to go to the Lashkar-e-Taiba ("LET") camp for training.

       TItroughout these pre-trial demands, the government insisted that it did not have a

complete record of calls for Hasan, and p~vided to the defense only a partial disclosure that

notably did not include the critical week during which the call from Dr. a1-Timimi to Hasan was

placed as well as other key calls. For ·example, in a March 25, 2004 e-mail to the government.

defense counsel asked for relevant phone records from September 11-20, 2001 , including

requests linked to the completion of trial exhibits for the jury. See Exhibit B (E-mail from Ed.

MacMahon, trial counsel for Dr. al-Timimi, to Gordon Krombcrg, Ass 't United States Attorney.

Mar. 25, 2004 09:47 a.m . EST, noting "I need Hasan's phone records so , can fill in all the

blanks for the summary exhibit i [sic] am preparing"). This position was maintained during and

after the trial. For example, in a July II, 2005 email.Mr. K.romberg again stated that no such

records existed . See Exhibit C (E-mail from Gordon Kromberg, Ass't United States Attorney, to

Alan Yamamoto, assistant trial counsel for Dr. at· Timimi) eWe do not have any of Hasan's

phone records for September 2001.'').

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       In the absence of the critical phone records, the defense continued to pursue the missing

telephone records in the questioning of witnesses at trial. Notably, Hasan himself testified at

trial that he recalled the government showing him his telephone records during the investigation.

Dkt. No. 155, Trial Tr., Vol. 8 at 2125:20-21 (Apr. 14,2005) ("( just remember showing them -

they [sic] showing them one time. I don't know which records exactlY.'1. This contradicted the

testimony of FBI Special Agent Ammennan, who could recall specifically looking for such calls

only in the two to three weeks before the trial. DkI. No. 153, Trial1l-., Vol. 6 at 1435:16-19 (Apr.

12, 2(05) (" We intennittently looked at telephone records throughout the course of the case.

The specific issue of telephone calls between Mr. Kwon and Mr. Timimi became an issue

probably about two, maybe three weeks ago in tenns of preparing a chart of this nature.").

       While the defense sought to show that these calls were made through the examination of

witnesses, it could not show the complete telephone records of calls - let alone the content of

those calls, as part of the trial. Such records would have been used to corroborate Dr. al-

Timimi's claim that Hasan had telephoned witness YousufIdris, and his father Jafar Idris. to set

up a meeting at Borders Bookstore, where the elder Idris attempted to discourage Hasan and

Kwon from departing for Pakistan. The records would also have supported Dr. al-Timimi 's

claim at trial that and that Yousuf Idris and Mohammad a1-Qahtani also separately telephoned

Hasan to dissuade him from traveling. See, e.g., Diet. No. 154, Trial Tr. t Vol. 7 at 1868:23-

1869:21 ; 1870:21-1871 :5 (Apr. 13,2005).

       In the absence of the phone records. the defense was also stymied in its effort to impeach

Hasan and Kwon about receiving calls from aI-Timimi and others, as well as testimony of

Special Agents Wyman and Ammennan with respect to their handling of the phone records.



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 While the jury was told that a call was made. the defense was left without di rect evidence to

 show the jury that day and time oflhat call as well as direct evidence of these other calls.

        Arter the rcm;md, Hasan's communications were rniscd by the ddcnsc. The subsC4ucnt

 classified discovery related to Hasan camc as a result of prior Court orders follo\\ing the remand

 of the case by thc United States Coun of Appc::lls for the Fourth Cireuil. The Court ordcred lhe

 go ..·enunent to search tor matcrial related to Hasan's communications. Court Order (Oct. 23.

 2008) (orderins additional search on discoverable material). Of particular interest werc any

 phone records or intercepts fur the period of Scptcmbl."r 11. 2001 to September 20, 2001. 3 On

 December 22, 2008, the governmenl responded with the results of ilS search. It denied any

 undisclosed material evidence existed for such Hasan communication as well as other individuals

 specifically raised by the defense. On the matter of Hasan. the govemment stated in full the

 following:




                                                                                                on
                                                                                       information regarding the
        scope of the search for discoverable infonnation::ll NSA .


 Gov'l Supplemental Report Reg. The Search For Five Calegorit..'S of Discoverable Materials at 8-

 9 (Doc . 11280). The defense has a pending motion on the narrow conslrUclion given by the

 government to ils se::lrch for di scovemble material. See Ocr. 's Mot. To Compel Discovery of

 Evidence Beyond The Narrow Scope of the Govemment 's Prior Search of NSA Material (Doc .



 1 The defense was always cleared before tMal and after the remand that it could not give a
 precise date for the calls without these telephone records or interceptions.
                                                5




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     11'270). While tho.: govcOlment is under a continuing duty to reveal to the Coun withheld material

     evidence in violation of prior orders or federal law, the defense was eonc(.:mcd with thc limiting

     language used by the government. This concern was particularly high after that govemment




_              <Doc. II 259) al 7 (acknowledging arguably material evidence withheld).

                                                                                               ===-



                                                     SUGGESTS
            WITHHELD KEY EVIDENCE HELATEO TO KHWAJA HASAN W IIl CIl
            SHOULD        Of.   DISCLOSED                FULLY           IN     EIT HER      CLASSIFIEIl   OR
            UNCLASS IFIED FORM.

            In thc motion filed previOUSly today. the defense laid out new evidence that suggests that

    the govcmmem may have a far grcater body of evioencc re lated to Hasan than it has pre\'iously

    represented. This includes Govemment F.xhibit 908 from Ihe trial of Sabri Benkahla$. which

    took place alier [he Irinl of Dr. al·Timimi. Ihe govemment introduced Government Exh ibit 908 .



    i The government has made reference to "thousands" of FISA calls intercepted and
    disclosed to the defense. llowever. as noteu above, current defense counsel has sought a
    list of such evidence previously disclosed in the SelF from both the court security officers
    an(j from the prosecution. It has been told that neither a listing nor the original files could
    be located.
    S    United Slntl!:J v. Sabri Bcnkahla. E.D. Va. Case: NO. 1:06·cr·00009 (appeal to 4111 Cir.
    dismissed). hereinafter referenced general ly as 1he "Bcnkahla Trial" or ··Bcnkahla Docket."
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This document specifically references a grand jury subpoena for the Hasan telephone records,

This document includes the following references:

       SunutIaI)' of Relevant Grand Jury Subpoenas Issued By Grand Juries 04-1 and 04-2

234    19 Apr 04      Telephone      Telephone records relating to individuals in contact      04-1
                      Company        with Hasan

575    23 Sep 04      Telephone      Telephone records relating to individuals in contact      04-1
                      Company        with Timimi, Kwon, & Hasan

Unpublished Summary of Relevant Grand Jury Subpoenas Issued By Grand Juries 04-1 and 04·2,

on file with Benkahla Trial parties ("Benkahla Ex. 9DS"). As noted in the earlier motion, these

requests appear to contradict testimony of government witnesses, particularly FBI agents who

testified at the al-Timimi trial. The September 4,2004 date of that request is notable since it is

the day before al-Timimi's indictment. While the defense has not reviewed these records, it is

reasonable to believe the subpoena would have included the call record sought by the defense

before trial.   In addition to the documents from United Slates \I. Benkahla, public disclosures

concerning the use of National Security Letters in the so-called "Virginia Jihad" prosecution

make it highly unlikely the government does not possess relevant phone records related to Hasan.

        After the remand of this case, Congressional hearings were held on the use of National

Security Letters (NSLs) in prior terrorism investigations. 6 The unclassified testimony in these

hearings makes repeated references to the Virginia Jihad investigations. In the 2008 hearings,




6   Hearing on: The Inspector General's Independent Report on the FBI's Use of National
Security Letters: Hearing Before H. Comm, on the Judiciary, llOth Cong. (Mar. 20, 2007)
(statement of FBI General Counsel Valerie E. Caproro); Hearing on: H.R. 3189, the "National
Security Letters Refonn Act of 2ooT' before the Subcomm, on the Constitution, Civil Rights,
and Civil Liberties (Apr. 15,2008).
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officials testified about the use of both NSLs and "link analysis'" relating to the telephone calls of

suspects:

               National security letters generally pennit us to obtain the same sort
               of docwnents from third party businesses that prosecutors and
               agents obtain in a criminal investigation with grand jury subpoenas.
               National security letters have been instrwnental in breaking up
               cells like: the Lackawanna Six and the Northern Virginia Jibad,
               through the use of NSLs, the FBI has traced sources of terrorist
               funding, established telephone linkages that resulted in further
               investigations and arrests, and arrests of suspicious associates with
               deadly weapons and explosives. NSLs also allow the FBI to link
               terrorists together fmancially and pinpoint cells and operatives by
               following the money. 7

        The defense has searched the available records and can fmd no evidence of NSLs

revealed to trial counsel. Indeed, the prior transcript references indicate that no such NSLs were

revealed to the defense: by government agents who presumably knew of their existence.

        Further confinnation of the undisclosed NSLs can be found in April 201 I testimony on

the PATRIOT Act Sunset extension.- Referencing earlier testimony by Valerie Caproni, General

Counsel of the FBI, in 2007, the government again confrrmed that NSLs were critical in the

investigation of the "Virginia Jihad."

        In conjunction with the earlier motion seeking undisclosed FISA information (which

would include Hasan evidence), this undisclosed evidence is obviously material and , if withheld,

would constitute a serious breach of both federal law and prior court orders. The evidence

described above fits well within the scope of pre-trial discovery under Bnz4y and other controlling



7  Tr. of Hearing on H.R. 3189, the ''National Security Letters Refonn Act of 2007," Serial No.
110-96 at (Apr. IS, 2008), available at http://judiciary.hO\lSC.govlhearingsiprinterslIlOthl
41795.PDF.
• See Sen. Rep. No. 112-13 (Apr. 5, 2011), available at http://www.gpo.gov/fdsyslpkg/CRPT-
112sm<13/pdflCRPT-112srntI3,pdf.
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st2ndards in criminal cases.     Under the Fourth Circuit's application of Bra4y v. Maryland and its

progeny, Due p[O~s requires mat the government disclose "evidence favorable to U1 accused upon

request. , , where the evidence is material either to guilt o[ to punishment." Unittd S/okS v. Cam,597

F.3d 608, 619 (4th Gr, 2010).         Of paxticular importance to this remand, the Sup[~e Court

subsequently extended the Brat!Y disclosure rule to nuterial impeachment evidence. Giglio fl. UniJu/

S'a'", 405 U.S. ISO, 154 (1972); U.i", SI4,,, ,. Fisher, 711 F.ld 460, 471 (4th Cu. 2013).Dr. al-

Timimi is clearly entitled to the requested evidence under the much more pennissive standard of

Rule 16(a)(J)(EXi), which requires the government to make available any requested items that

are "material to preparing the defeose." Fed. R. Crim. P. 16(a)(IXEXi); Coro, 597 FJd at 620-

21 (agreeing that Rule 16 is "much broader" than Brady, and provides the "minimum amount of

pretrial discovery granted in crimina] cases"). "[E]vidence is material as long as there is a strang

indication that it will play an important role in uncovering admissible evidence, aiding witness

preparation, corroborating testimony, or assisting impeaclunent or rebuttal." Cam, 597 F.3d at

621 (quoting United States v. Lloyd, 992 F.2d 348, 351 (D.C . Cir. 1993)).

       This information was critical in not only allowing a review of the full record by the

defense in preparing for trial, but also to completing trial exhibits and examining key witnesses.

It was also evidence that was directly covered not onJy by pre-trial orders but post-remand orders

in this case, As with the disclosure of exculpatory material, the government must first establish

what evidence was withheld pre-trial, and cannot engage in post-trial rationalizations or use of

hindsight to excuse violations of Rule 16. The evidence must be reviewed under the standard for

disclosure that existed pre-trial.     In this case, there is no question that this evidence, when

requested pre-trial, would have "play[ed] an important role in uncovering admissible evidence,



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aiding witness preparation, corroborating testimony, or assisting impeachment or rebuttal." Caro,

597 F.3d at 621 (citation and internal quotation omitted).9

       It is particularly important for the government to confinn not only whether it has the

content of intercepted calls (the focus of its earlier classified status report) but phone records

confinning the time and occurrence of calls. Such records were sought by the defense because

they offered concrete confinnation of the account of Dr. al·Timimi and others as to efforts to

reach and dissuade these men from going to Pakistan.          Moreover, as noted in the earlier

classified and unclassified motions on the President's Surveillance Program (PSP), there remains

confusion on the scope of prior searches and the possible inclusion of this material under

previously compartmentalized programs. Whatever may occur in this case, the record of known

discoverable infonnation should be confinned. This should include the material itself being

placed. if necessary. in the classified record. The government has not explained why cleared

defense counsel should not be able to read the specific interceptions of individuals like Al-Buthe

rather than rely on its obviously biased analysis that none of this evidence would have helped the

defendant. With Hasan, the government should confinn whether it had the full phone records for

September 2001 and produce those records with any intercepted communications.




9 A latter question may arise as to whether ''the pretrial disclosure of the disputed evidence
would have enabled the defendant Significantly to alter the quantum of proof in his favor." Caro.
597 F.3d 8t621 (quoting United States v. Ross, 511 F.2d 757, 763 (5~ Cir. 1975). That appellate
standard for a violation of Rule 16 only occurs after the establishment of the body of evidence
withheld by the government. Jd. Moreover, when that secondary question is raised, it is done so
through an adversarial process, and not by an opaque detennination of the government.
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III.   CONCLUSIQN
       In light of the foregoing, the Defendant respectfully requests an order to compel the

government to produce all undisclosed classified phone records and intercepted calls of Hasan

related to Dr. al-Timimi and the Virginia Jibad investigation.




Dated: September 20, 20 \3                           Respectfully submitted,
                                                     Dr. Ali at·Timimi, by COWlSei:



                                                     Jonathan Turley

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 20th day of September, 2013, the foregoing was given to the

court security official in compliance with prior court orders for classified filings in the SelF

assigned to this case to be delivered to both the Court and to the below opposing counsel:


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